




NO. 07-05-0415-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JUNE 20, 2006



______________________________





HANS PETER CHRISTIANSEN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 297TH DISTRICT COURT OF TARRANT COUNTY;



NO. 0637964A; HONORABLE EVERETT YOUNG, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and HANCOCK, JJ.

MEMORANDUM OPINION ON STATE’S MOTION TO DISMISS

Pursuant to a guilty plea, appellant Hans Peter Christiansen was granted deferred adjudication for aggravated kidnapping and placed on ten years community supervision. &nbsp;In April 2005, the State filed an amended petition to adjudicate guilt for violations of community supervision. &nbsp;At a hearing on the petition, appellant pled not true to the violations alleged. &nbsp;The trial court subsequently granted the State’s motion, revoking appellant’s community supervision and sentencing him to four years confinement. &nbsp;By a single point of error, appellant contends the trial court erred in revoking his community supervision because the State failed to show by a preponderance of the evidence that he violated the conditions of his community supervision. &nbsp;We dismiss for want of jurisdiction.

Article 42.12, section 5(b) of the Texas Code of Criminal Procedure expressly denies a defendant the right to appeal from a trial court’s determination to adjudicate guilt. &nbsp;Connolly v. State, 983 S.W.2d 738, 741 (Tex.Cr.App. 1999); Phynes v. State, 828 S.W.2d 1, 2 (Tex.Cr.App. 1992). &nbsp;Although an appeal of all proceedings after an adjudication of guilt is not foreclosed by article 42.12, section 5(b) (
i.e.
, assessment of punishment, pronouncement of a sentence), here, &nbsp;appellant challenges the sufficiency of the evidence. &nbsp;It is firmly established that an appellant may not challenge the sufficiency of the evidence supporting the trial court’s adjudication of guilt. &nbsp;
See Connolly, 
983 S.W.2d at 741; Olowosuko v. State, 826 S.W.2d 940, 942 (Tex.Cr.App. 1992). &nbsp;Thus, we grant the State’s motion and dismiss this appeal.

Accordingly, the appeal is dismissed for want of jurisdiction.



Don H. Reavis

 &nbsp;&nbsp;&nbsp;Justice

 



Do not publish.


